                    Case 2:03-cr-00371-JAM Document
                                 UNITED STATES      456 FiledCOURT
                                                 DISTRICT    07/07/06 Page 1 of 2
                                  EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                                 )
         v.                                                      )        CR. S-03-0371 MCE
                                                                 )
ERIC NEWBORN, et al.                                             )
                                                                 )

                                  APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     (X) Ad Prosequendum                                   ( ) Ad Testificandum.
Name of Detainee:                     ERIC NEWBORN
Detained at (custodian):             Calipatria State Prison, 7018 Blair Road, Calipatria, CA 92233
Detainee is:      a.)      (X) charged in this district by:
                                  (X ) Indictment           ( ) Information  ( ) Complaint
                                  Charging Detainee With:      Armed Bank Robbery 18 USC 2113(a)(d)

         or       b.)      ( ) a witness not otherwise available by ordinary process of the Court

Detainee will: a.)         ( ) return to the custody of detaining facility upon termination of proceedings
       or      b.)         (x) be retained in federal custody until final disposition of federal charges, as a sentence is
                           currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                     Signature: ./s/ William S. Wong
                                     Printed Name & Phone No: William S. Wong, 916-554-2790
                                     Attorney of Record for:     United States of America

                                          WRIT OF HABEAS CORPUS
                          (X ) Ad Prosequendum                               ( ) Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, forthwith, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
DATED: July 6, 2006




                                                                ___________________________________
                                                                MORRISON C. ENGLAND, JR
                                                                UNITED STATES DISTRICT JUDGE



Please provide the following, if known:
 AKA(s) (if applicable):        ERIC NEWBORN                                                  Male X   Female
 Booking or CDC #:                    V093202                                                 DOB:     XX/XX/1971
 Facility Address:                    Calipatria State Prison                                 Race:


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Form Crim-48                                                                                                 Revised 11/19/97
                    Case 2:03-cr-00371-JAM    Document
                                7018 Blair Road, Calipatria,456  Filed 07/07/06 Page
                                                             CA 92233                2 of 2972722LA9
                                                                                 FBI #:
 Facility Phone:                      760-348-7000
 Currently Incarcerated For:


                                                                 RETURN OF SERVICE

Executed on                    by
                                                                                     (Signature)




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Form Crim-48                                                                                       Revised 11/19/97
